B9A (Official Form 9A) (Chapter 7 Individual or Joint Debtor No Asset Case) (12/12)                              Case Number 13−23089−dob
                                          UNITED STATES BANKRUPTCY COURT
                                               Eastern District of Michigan

                                              Notice of
                      Chapter 7 Bankruptcy Case, Meeting of Creditors, & Deadlines
      A chapter 7 bankruptcy case concerning the debtor(s) listed below was filed on 12/6/13.

You may be a creditor of the debtor. This notice lists important deadlines. You may want to consult an attorney to protect your rights.
All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below. NOTE: The staff of the
bankruptcy clerk's office cannot give legal advice.
        Creditors −− Do not file this notice in connection with any proof of claim you submit to the court.
                                  See Reverse Side For Important Explanations
Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
James Randall Johnson
2501 Lee Drive
Bay City, MI 48706
Case Number:                                                            Social Security / Individual Taxpayer ID / Employer Tax ID / Other
 13−23089−dob                                                           nos:
                                                                        xxx−xx−6601
Attorney for Debtor(s) (name and address):                              Bankruptcy Trustee (name and address):
Gregory J. Ostrom                                                       Daniel Himmelspach
Ostrom Law Firm, P.C.                                                   916 Washington Ave.
4901 Towne Centre, Ste. 115                                             Suite 305
Saginaw, MI 48604                                                       Davidson Building
Telephone number: (989) 497−1040                                        Bay City, MI 48708−5723
                                                                        Telephone number: (989) 892−0400

                                                       Meeting of Creditors
Date: January 15, 2014                                                  Time: 12:00 PM
Location: 101 First St., Suite 103, Bay City, MI 48708

                                  Presumption of Abuse under 11 U.S.C. § 707(b)
                                                  See "Presumption of Abuse" on reverse side.
Insufficient information has been filed to date to permit the clerk to make any determination concerning the presumption of abuse. If more
complete information, when filed, shows that the presumption has arisen, creditors will be notified.

                                                               Deadlines:
                           Papers must be received by the bankruptcy clerk's office by the following deadlines:
                 Deadline to Object to Debtor's Discharge or to Challenge Dischargeability of Certain Debts: 3/17/14

                                             Deadline to Object to Exemptions:
                                       Thirty (30) days after the conclusion of the meeting of creditors.

                                       Creditors May Not Take Certain Actions:
In most instances, the filing of the bankruptcy case automatically stays certain collection and other actions against the debtor and the
debtor's property. Under certain circumstances, the stay may be limited to 30 days or not exist at all, although the debtor can request the
court to extend or impose a stay. If you attempt to collect a debt or take other action in violation of the Bankruptcy Code, you may be
penalized. Consult a lawyer to determine your rights in this case.

             Please Do Not File a Proof of Claim Unless You Receive a Notice To Do So.
                                             Creditor with a Foreign Address:
A creditor to whom this notice is sent at a foreign address should read the information under "Do Not File a Proof of Claim at This Time"
on the reverse side.
Address of the Bankruptcy Clerk's Office:                               For the Court:
111 First Street                                                        Clerk of the Bankruptcy Court:
Bay City, MI 48708                                                      Katherine B. Gullo
Telephone number: 989−894−8840
Hours Open: Monday − Friday 08:30 AM − 4:00 PM                          Date: 12/6/13




       13-23089-dob              Doc 13        Filed 12/11/13            Entered 12/12/13 01:09:16                    Page 1 of 4
                                                          EXPLANATIONS                                           B9A (Official Form 9A) (12/12)

Filing of Chapter 7      A bankruptcy case under Chapter 7 of the Bankruptcy Code (title 11, United States Code) has been filed in this court
Bankruptcy Case          by or against the debtor(s) listed on the front side, and an order for relief has been entered.


 Legal Advice             The staff of the bankruptcy clerk's office cannot give legal advice. Consult a lawyer to determine your rights in
                          this case.


Creditors Generally  Prohibited collection actions are listed in Bankruptcy Code §362. Common examples of prohibited actions include
May Not Take Certain contacting the debtor by telephone, mail or otherwise to demand repayment; taking actions to collect money or
Actions              obtain property from the debtor; repossessing the debtor's property; starting or continuing lawsuits or foreclosures;
                     and garnishing or deducting from the debtor's wages. Under certain circumstances, the stay may be limited to 30
                     days or not exist at all, although the debtor can request the court to extend or impose a stay.


Presumption of Abuse If the presumption of abuse arises, creditors may have the right to file a motion to dismiss the case under § 707(b) of
                     the Bankruptcy Code. The debtor may rebut the presumption by showing special circumstances.


Meeting of Creditors     A meeting of creditors is scheduled for the date, time and location listed on the front side. The debtor (both spouses
                         in a joint case) must be present at the meeting to be questioned under oath by the trustee and by creditors. Creditors
                         are welcome to attend, but are not required to do so. The meeting may be continued and concluded at a later date
                         specified in a notice filed with the court.


Do Not File a Proof of There does not appear to be any property available to the trustee to pay creditors. You therefore should not file a
Claim at This Time     proof of claim at this time. If it later appears that assets are available to pay creditors, you will be sent another notice
                       telling you that you may file a proof of claim, and telling you the deadline for filing your proof of claim. If this
                       notice is mailed to a creditor at a foreign address, the creditor may file a motion requesting the court to extend the
                       deadline.
                       Do not include this notice with any filing you make with the court.


Discharge of Debts       The debtor is seeking a discharge of most debts, which may include your debt. A discharge means that you may
                         never try to collect the debt from the debtor. If you believe that the debtor is not entitled to receive a discharge under
                         Bankruptcy Code §727(a) or that a debt owed to you is not dischargeable under Bankruptcy Code §523(a)(2), (4), or
                         (6), you must file a complaint −− or a motion if you assert the discharge should be denied under §727(a)(8) or (a)(9)
                         −− in the bankruptcy clerk's office by the "Deadline to Object to Debtor's Discharge or to Challenge the
                         Dischargeability of Certain Debts" listed on the front of this form. The bankruptcy clerk's office must receive the
                         complaint or motion and any required filing fee by that deadline.


Exempt Property          The debtor is permitted by law to keep certain property as exempt. Exempt property will not be sold and distributed
                         to creditors. The debtor must file a list of all property claimed as exempt. You may inspect that list at the bankruptcy
                         clerk's office. If you believe that an exemption claimed by the debtor is not authorized by law, you may file an
                         objection to that exemption. The bankruptcy clerk's office must receive the objections by the "Deadline to Object to
                         Exemptions" listed on the front side.


Bankruptcy Clerk's       Any paper that you file in this bankruptcy case should be filed at the bankruptcy clerk's office at the address listed
Office                   on the front side. You may inspect all papers filed, including the list of the debtor's property and debts and the list of
                         the property claimed as exempt, at the bankruptcy clerk's office.


Creditor with a          Consult a lawyer familiar with United States bankruptcy law if you have any questions regarding your rights in this
Foreign Address          case.


                               Refer to Other Side for Important Deadlines and Notices
The Court will dismiss this case without a hearing if the debtor(s) do not timely file all required documents
and if no request for a hearing on dismissal is filed within 21 days after the petition is filed. The Clerk will give
notice of the hearing on dismissal only to the party requesting the hearing, the debtor and the trustee.




       13-23089-dob              Doc 13         Filed 12/11/13             Entered 12/12/13 01:09:16                     Page 2 of 4
                                       United States Bankruptcy Court
                                       Eastern District of Michigan
In re:                                                                                   Case No. 13-23089-dob
James Randall Johnson                                                                    Chapter 7
         Debtor
                                         CERTIFICATE OF NOTICE
District/off: 0645-1           User: admin                   Page 1 of 2                   Date Rcvd: Dec 09, 2013
                               Form ID: b9a                  Total Noticed: 69


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Dec 11, 2013.
db            +James Randall Johnson,     2501 Lee Drive,    Bay City, MI 48708-6328
22537438      +74th District Court,    1230 Washington,     Bay City, MI 48708-5742
22537439      +Abbott Neurology Care Center,     7326 Gratiot,     Saginaw, MI 48609-6909
22537440      +Advanced Diag Imag PC,     c/o CBM Services, Inc.,     300 Rodd St Ste 202,     Midland, MI 48640-6599
22537443      +BJ Humphreys,    5090 State St. Ste. 1 Bldg A,      Saginaw, MI 48603-7706
22537442      +Bay Regional Medical Center,     PO Box 68,    Bay City, MI 48707-0068
22537449      +CBM Services, Inc,    300 Rodd Street, Ste 202,       Midland, MI 48640-6599
22537444      +Caddoes Emergency Physicians,     c/o RMA/NCO Financial,     2675 Breckinridge Blvd,
                Duluth, GA 30096-8931
22537450       Charter Communications,     PO Box 3019,    Milwaukee, WI 53201-3019
22537451      +Chemical Bank & Trust,     PO Box 231,    Midland, MI 48640-0231
22537453      +Chrysler Financial Co. LLC,     Roosen Varchetti & Oliver,     39541 Garfield Rd.,
                Clinton Township, MI 48038-4300
22537454      +Cleveland Clinic,    525 Okeechobee Blvd,     West Palm Beach, FL 33401-6350
22537455      +Commonwealth Financial,     245 Main,    Scranton, PA 18519-1641
22537456      +Computer Credit, Inc.,     PO Box 5238,    Winston Salem, NC 27113-5238
22537458      +Credit Services of Michigan,     1982 Hemmeter,     Saginaw, MI 48638-4637
22537460      +Diners Club,    Attn: Bankruptcy,      PO Box 6101,    Carol Stream, IL 60197-6101
22537464      +Ford Motor Credit,    30600 Telegraph Road,     Bingham Farms, MI 48025-4530
22537465      +General Reporting Service,     5140 State Ste. #203,       Saginaw, MI 48603-3738
22537470      +Interlude/Horack LLC,     401 Saginaw St.,    Bay City, MI 48708-5640
22537473      +James Boufford and,    JB Enterprises and Real Estate LLC,      8411 Freeland Rd.,
                Freeland, MI 48623-8001
22537488      +MNYRCYNTNWD,    PO Box 13129,    Lansing, MI 48901-3129
22537489      +MRI Midland,    c/o CMB Services,     300 Rodd Street,    Ste 202,    Midland, MI 48640-6599
22537475      +Mark Jones, MD,    c/o Receivables Management Inc,      PO Box 1385,    Saginaw, MI 48605-1385
22537476      +Mark King,    PO Box 246,    Bay City, MI 48707-0246
22537477      +Master Card,    2000 Purchase Street,     Purchase, NY 10577-2405
22537479      +Michigan Attorney General,     Law Building,    525 Ottawa,    Lansing, MI 48922-0001
22537480       Michigan Dept. of Treasury Collections,      Attn: Bankruptcy Unit,     PO Box 30199,
                Lansing, MI 48909-7699
22537482      +Michigan Unemployment Agency,     Tax Office,    3024 W. Grand Blvd., Ste. 11-500,
                Detroit, MI 48202-6024
22537486      +MidMichigan Medical Center,     4005 Orchard Drive,     Midland, MI 48670-0001
22537487      +MidMichigan Physicians Group,     Orthopedics Midland,     2618 W Sugnet,    Midland, MI 48640-2647
22537483       Midland Credit Managment,     8875 Areo Dr. Ste 200,     Midland, MI 48640
22537484      +Midland Pathology Associates,     c/o CBM Services,     300 Rodd St. Ste 202,
                Midland, MI 48640-6599
22537485       Midland Radiology Assoc,     c/o CBM Services,    300 Rodd Ste 202,      Saginaw, MI 48604
22537491      +Northeast Arkansas Clinic,     c/o RRC,    PO Box 341308,    Memphis, TN 38184-1308
22537493      +Peter Shek,    803 N Michigan,    Saginaw, MI 48602-4322
22537494      +Phillip Engelhardt DVM,     6015 Westside Saginaw Road,     Bay City, MI 48706-9357
22537500      +RMA/NCO Financial,    2675 Breckinridge Blvd,     Duluth, GA 30096-8931
22537501      +RRC,   PO Box 341308,     Memphis, TN 38184-1308
22537495      +Receivables Management, Inc.,     PO Box 1385,    Saginaw, MI 48605-1385
22537496      +Redi Med Bay City,    c/o CBM Services, Inc.,     300 Rodd Ste 202,      Midland, MI 48640-6599
22537497      +Rehabilitation Assoc. of Michigan,      555 W. Wackerly #3825,     Midland, MI 48640-4713
22537499      +Revenue Recovery,    PO Box 341308,     Memphis, TN 38184-1308
22537503      +Tek Collect,    PO Box 1269,    Columbus, OH 43216-1269
22537504      +Thomas Anthony,    PO Box 2009,    Mount Pleasant, MI 48804-2009
22537505      +Trott & Trott,    31440 Northwestern Highway #200,      Farmington, MI 48334-5422
22537506      +US Attorneys Office - E. Dist. of Mich.,      Attn: Civil Division,     600 Church Street,
                Flint, MI 48502-1200
22537507      +Valley Animal Clinic Auburn,     c/o Credit Services of Michigan,      1982 Hemmeter,
                Saginaw, MI 48638-4637
22537508      +Visa,   PO Box 672051,     Dallas, TX 75267-2021

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty           E-mail/Text: ostrom@ostrom.net Dec 09 2013 22:16:36      Gregory J. Ostrom,
               Ostrom Law Firm, P.C.,    4901 Towne Centre, Ste. 115,    Saginaw, MI 48604
tr            EDI: FDHIMMELSPACH.COM Dec 09 2013 22:28:00      Daniel Himmelspach,    916 Washington Ave.,
               Suite 305,   Davidson Building,    Bay City, MI 48708-5723
22537441      EDI: AMEREXPR.COM Dec 09 2013 22:28:00      American Express,    Box 0001,
               Los Angeles, CA 90096-0001
22537448     +E-mail/Text: jim@cbccreditmp.com Dec 09 2013 22:17:16       CBC Credit Services,   PO Box 445,
               Mount Pleasant, MI 48804-0445
22537452      EDI: CHRYSLER.COM Dec 09 2013 22:23:00      Chrysler Financial,    PO Box 55000,   Dept 277001,
               Detroit, MI 48255
22537445     +E-mail/Text: rward@cadillac-ar.com Dec 09 2013 22:16:41       Cadillac Accounts Receivable,
               PO Box 358,   Cadillac, MI 49601-0358
22537446     +EDI: CAPITALONE.COM Dec 09 2013 22:28:00      Capital One,    PO Box 30281,
               Salt Lake City, UT 84130-0281
22537447     +E-mail/Text: COAFINTERNALBKTEAM@CAPITALONEAUTO.COM Dec 09 2013 22:17:56
               Capital One Auto Finance,    PO Box 93016,   Long Beach, CA 90809-3016
          13-23089-dob       Doc 13     Filed 12/11/13      Entered 12/12/13 01:09:16         Page 3 of 4
District/off: 0645-1                  User: admin                        Page 2 of 2                          Date Rcvd: Dec 09, 2013
                                      Form ID: b9a                       Total Noticed: 69


Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
(continued)
22537457     +EDI: CMIGROUP.COM Dec 09 2013 22:28:00      Credit Management,    4200 International,
               Carrollton, TX 75007-1912
22537461     +EDI: SALMAEDEPTEDUC.COM Dec 09 2013 22:28:00       DPT ED / SLM,   PO Box 9635,
               Wilkes Barre, PA 18773-9635
22537460     +EDI: BL-BMO.COM Dec 09 2013 22:28:00      Diners Club,    Attn: Bankruptcy,     PO Box 6101,
               Carol Stream, IL 60197-6101
22537462     +E-mail/Text: bknotice@erccollections.com Dec 09 2013 22:17:17       Enhanced Recover Co LLC,
               8014 Bayberry Rd.,   Jacksonville, FL 32256-7412
22537463     +EDI: AMINFOFP.COM Dec 09 2013 22:23:00      First Premier,    3820 Louise Ave.,
               Sioux Falls, SD 57107-0145
22537466     +E-mail/Text: rward@cadillac-ar.com Dec 09 2013 22:16:41       Great Lakes Eye Institute,
               c/o Cadillac Accounts Receivables,    PO Box 358,    Cadillac, MI 49601-0358
22537467     +E-mail/Text: bkynotice@harvardcollect.com Dec 09 2013 22:17:56       Harvard Collection Srvc,
               4839 N Elston Ave,   Attn: Betty,    Chicago, IL 60630-2589
22537469     +EDI: HFC.COM Dec 09 2013 22:28:00      Household Credit Services,    PO Box 98706,
               Las Vegas, NV 89193-8706
22537472      EDI: IRS.COM Dec 09 2013 22:28:00      Internal Revenue Service,    Insolvency Section,
               PO Box 21126,   Philadelphia, PA 19114
22537471      EDI: IRS.COM Dec 09 2013 22:28:00      Internal Revenue Service,    SBSE Insolvency Unit,
               PO Box 330550 Stop 15,     Detroit, MI 48232
22537474     +EDI: RESURGENT.COM Dec 09 2013 22:28:00       LVNV Funding,   PO Box 10584,
               Greenville, SC 29603-0584
22537481     +E-mail/Text: rward@cadillac-ar.com Dec 09 2013 22:16:41       Michigan Hip Knee Replacement,
               c/o Cadillac Accounts Receivable,    PO Box 358,    Cadillac, MI 49601-0358
22537490     +E-mail/Text: bankruptcydepartment@ncogroup.com Dec 09 2013 22:17:35       NCO Financial Group,
               507 Prudential Rd.,   Horsham, PA 19044-2368
22537502      EDI: NEXTEL.COM Dec 09 2013 22:23:00      Sprint,    PO Box 4191,   Carol Stream, IL 60197-4191
                                                                                               TOTAL: 22

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
22537459        Diners Card
22537478        Mastercard,   Payment Center
22537468     ##+Holli J. Wallace,    4905 Berl Dr.,   Saginaw, MI 48604-2801
22537492     ##+Peabody Landscaping,    2122 Mathew Dr,    Bay City, MI 48706-8300
22537498     ##+Revenue Recovery,    612 Gay Street,    Knoxville, TN 37902-1603
                                                                                                                    TOTALS: 2, * 0, ## 3

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.
Date: Dec 11, 2013                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on December 6, 2013 at the address(es) listed below:
NONE.                                                                                       TOTAL: 0




            13-23089-dob           Doc 13        Filed 12/11/13         Entered 12/12/13 01:09:16                Page 4 of 4
